Case 4:18‘-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
SAVANNAH DIVISI()N

ALTAMAHA RIVERKEEPER, ONE
HUNDRED l\/IILES, and SURFRIDER
FOUNDATION,

Plaintiffs,

V» CIVIL ACTION NO.

4118-cv-00251-JRH-JEG
THE UNITED STATES ARMY CORPS OF

ENGINEERS, et al.,
Defendants,
and
SEA ISLAND ACQUISITION, LLC,

Intervenor Defendant.

 

 

ANSWER ()F SEA ISLAND ACQUISITION, LLC TO
AMENDED COMPLAINT FOR DECLARATORY AND lNJUNCTIVE RELIEF

 

Intervenor Defendant Sea Island Acquisition, LLC (“Sea Island”) responds to the
allegations contained in the corresponding numbered paragraphs in the Amended Complaint for
Declaratory and Injunctive Relief as follows:

RESPONSE T() ALL ALLEGATI()NS OF THlE COMPLAINT

Sea Island denies each and every allegation of the Amended Complaint not otherwise
admitted, denied, or neither admitted nor denied for lack of knowledge or information sufficient
to form a belief as to the truth of the allegations To the extent that the headings in the Amended
Complaint contain factual allegations that require a response, the headings are denied.

l. Paragraph l purports to characterize Plaintiffs’ pleading, and no response to such
assertions is required Sea Island denies that Plaintiffs have stated a viable claim under any of the

provisions cited.

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 2 of 16

2. Sea Island admits that the Permit authorizes (a) construction of a new T-head groin
in front of The Reserve at Sea Island, (b) dredging of between l,315,()00 and 2,5()(),()00 cubic
yards of sand from an offshore source, and (c) nourishment of more than l7,000 linear feet of
beach on Sea lsland; Sea Island further notes that the Permit contains many additional provisions
and conditions The remaining allegations in Paragraph 2 are denied

3. Paragraph 3 purports to characterize Plaintiffs’ pleading and related motion, and no
response to such assertions is required Sea Island denies that Plaintiffs are entitled to any of the
relief requested

4. Admitted

5. Paragraph 5 purports to characterize Plaintiffs’ pleading, and no response to such
assertion is required Sea Island denies that Plaintiffs are entitled to any of the relief requested

JURISDICTION AND VENUE

6. Paragraph 6 purports to characterize Plaintiffs’ pleading, and no response to such
assertions is required Sea Island denies that Plaintiffs have stated a viable claim under any of the
provisions cited

7-8. Denied

9. To the extent Plaintiffs raise any legally cognizable claims, which Sea Island
denies, venue is proper in this Court.

PARTIES
lO~l2. Sea Island lacks sufficient information to form an opinion as to the truth of the

allegations in Paragraphs lO-12 and so denies the same.

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 3 of 16

13. Sea Island lacks sufficient information to form an opinion as to the truth of the
allegations in the first grammatical sentence of Paragraph l3. Sea Island admits the second
grammatical sentence contained in Paragraph l3.

14-15. Sea Island lacks sufficient information to form an opinion as to the truth of the
allegations in Paragraphs l4-15 and so denies the same.

l6. Denied.

l7~18. Sea Island lacks sufficient information to form an opinion as to the truth of the
allegations in Paragraphs l7-l 8 and so denies the same.

l9. Sea Island admits that the Riverkeeper submitted comments opposing the issuance
of this Permit and challenging the Georgia Shore Protection Act permit for the T-head groin in
state court. Sea Island lacks sufficient information to form an opinion as to the truth of the
remaining allegations contained in Paragraph 19 and so denies the same.

20-2l. Sea Island lacks sufficient information to form an opinion as to the truth of the
allegations in Paragraphs 20-21 and so denies the same.

22. Denied.

23. Paragraph 23 purports to characterize Plaintiffs’ pleading and exhibits, and no
response to such assertions is required Sea Island denies that Plaintiffs are entitled to any of the
relief requested

24-26. Sea Island lacks sufficient information to form an opinion as to the truth of the
allegations in Paragraphs 24-26 and so denies the same.

27. Sea Island admits that Surfrider submitted comments opposing the issuance of this

Permit and challenging the Georgia Shore Protection Act permit in state court. Sea Island lacks

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 4 of 16

sufficient information to form an opinion as to the truth of the remaining allegations contained in
Paragraph 27 and so denies the same.

28-29. Sea Island lacks sufficient information to form an opinion as to the truth of the
allegations in Paragraphs 28-29 and so denies the same.

30. Denied.

3l. Paragraph 31 purports to characterize Plaintiffs’ pleading and exhibits, and no
response to such assertions is required Sea Island denies that Plaintiffs are entitled to any of the
relief requested

32. Denied.

33. Sea Island admits that the defendant U.S. Army Corps of Engineers (“Corps”) is an
agency within the United States Department of Defense and that there is a Savannah District of
the Corps of Engineers. The remaining allegations of Paragraph 33 constitute conclusions of law
to which no response is required

34. The first sentence of Paragraph of 34 is admitted The second sentence of
Paragraph 34 is a conclusion of law to which no response is required

35. The first sentence of Paragraph of 35 is admitted Sea Island is without sufficient
information to form a belief as to the truth of the allegations of the second sentence of
Paragraph 35. The third sentence of Paragraph 35 is a conclusion of law to which no response is
required

36. The first sentence of Paragraph of 36 is denied The second sentence of
Paragraph 36 is a conclusion of law to which no response is required

37. Sea Island admits that it is a privately-held resort and real estate company that owns

and operates certain resort facilities

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 5 of 16

FACTUAL AND PROCEDURAL BACKGROUND

38. Admitted.

39. Sea Island admits that the southernmost portion of the Island has not been
developed and that it provides habitat for some state and federally protected turtles and shorebirds;
all other allegations in Paragraph 39 are denied Sea Island further avers that in 2015 it conveyed
to the St. Simons Land Trust a Conservation Easement to protect the southernmost portion of the
Island from further development

40. Sea Island admits that the southernmost portion of the Island is sometimes visited
by residents of Sea lsland, visitors to Sea Island, and others, and that the area is used for paddling,
surfing, bird~watching, and walking, and that this portion of Sea Island is subject to a Conservation
Easement as noted in response to Paragraph 39. All other allegations of Paragraph 40 are denied

41. Sea Island admits that it is a privately-held resort and real estate company and that
The Reserve development is located north of the Conservation Easement boundary. All other
allegations of Paragraph 41 are denied

42. The October 9, 2015 permit application is in the Administrative Record to be
compiled by the Corps, and the document speaks for itself. Sea Island admits that the lengthy
application included a request for authorization to construct a T-head groin, to construct dunes,
and to nourish approximately 1,200 linear feet of beach between the existing south groin and the
proposed new groin. All remaining allegations of Paragraph 42 are denied

43. The allegations of Paragraph 43 are denied as stated The October 9, 2015 permit
application states the purpose of the project as proposed was to stabilize the eroding beach south

of the existing south groin and to provide storm protection to the adjacent upland

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 6 of 16

44. Sea Island admits that there are currently no houses located at The Reserve and that

no lots have yet been sold The remaining allegations of Paragraph 44 are denied
Backgrouna’ on Groz`ns

45. Sea Island admits that a groin, in coastal engineering terms, is a hard structure often
constructed of rock or steel built perpendicular to the beach. Sea Island denies the remaining
allegations of Paragraph 45.

46. Denied.

47. Sea lsland' admits that groins, if not properly designed and constructed can have
negative effects in certain circumstances Sea Island denies the remaining allegations of
Paragraph 47.

48. Sea Island admits that groins, if not properly designed and constructed can have
negative effects to wildlife in certain circumstances Sea Island denies the remaining allegations
of Paragraph 48.

49. Sea island denies the allegations of Paragraph 49 as stated and as applied to this
project.

50. Sea Island denies the allegations of Paragraph 50 as stated and as applied to this
project.

51. Sea Island denies the allegations of Paragraph 51 as stated and as applied to this
project.

52. The Corps’ Coastal Engineering Manual is a lengthy and technical document that
speaks for itself. Sea Island denies that the quoted language, which has been taken out of context,
is applicable to this project and therefore denies the allegations of Paragraph 52. Sea Island further

avers that the Corps’ Coastal Engineering Manual explains that “[m]odern coastal engineering

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 7 of 16

practice is to combine beach nourishment with groin construction to permit sand to immediately
begin to bypass the groin field.” Coastal Engineering Manual at V-3-59-6l.

53. Denied.

54. Sea Island is without sufficient information to form an opinion as to the truth of the
allegations of Paragraph 54 and so denies the same.

Publz`c and Agency Opposz`tz‘on to the Groz`n

55. Denied.

56-58. Denied as stated

59. Admitted Sea Island further avers that the Georgia Department of Natural
Resources Wildlife Resources Division’s Nongame Conservation Section (“WRD”) filed no
objection to the revised application that led to the Permit that is at issue in this litigation

60. Admitted. Sea Island further avers that the United States Fish & Wildlife Service
(“USFWS”) did not recommend denial of the revised application which led to the Permit that is at
issue in this litigation

Consultation with the National Marz'ne Fz'sherz`es Service
andthe U.S. Fz'sh & Wildlife Servz'ce

61-63. Admitted.

64. Sea Island admits that the original 2015 Biological Assessment noted that the
project as originally proposed did not include an offshore borrow area; Sea Island denies the
remaining allegations of Paragraph 64. Sea Island further avers that a “Supplemental Biological
Assessment and Essential Fish Habitat Assessment” was submitted in connection with the revised
application in March 2018, which fully addressed issues relating to offshore dredging

65. Sea Island admits that the original 2015 Biological Assessment noted that the

project was of limited size; Sea Island denies the remaining allegations of Paragraph 65. Sea Island

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 8 of 16

further avers that a “Supplemental Biological Assessment and Essential Fish Habitat Assessment”
was submitted in connection with the revised application in March 2018, which fully addressed
issues relating to the increased size of the beach nourishment proj ect.

66. Sea Island admits that the USFWS and the National l\/larine Fisheries Service
(“NMFS”) concurred with the effects determination on the 1,200-foot portion of the project; Sea
Island denies the remaining allegations of Paragraph 66.

Sea Island ’s Revisea’ Permit Application

67. Admitted

68. Sea Island admits that two major hurricanes, Matthew and lrma, severely eroded
the beach and dunes in the area of The Reserve and further south.

69. Adinitted.

70. Sea Island admits that on l\/larch 6, 2018, it submitted a Supplemental Project
Description, adding offshore dredging of between 1,315,000 and 2,500,000 cubic yards of sand
and placement of beach nourishment sand along up to 17,700 linear feet of shoreline, in addition
to the original request to construct a new groin. Sea Island denies the remaining allegations of
Paragraph 70.

71. Sea Island admits that the Supplemental Project Description proposed use of a
hydraulic cutterhead dredge to dredge the offshore sand and admits that an onshore sand source
would not be sufficient for the revised beach nourishment project. Sea Island denies the remaining
allegations of Paragraph 71.

72. Sea Island admits that the Supplemental Proj ect Description also proposed periodic
recycling and management of the renourished beach, as appropriate Sea Island denies the

remaining allegations of Paragraph 72.

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 9 of 16

73. Admitted Sea Island further avers that neither the Plaintiffs nor any other responder
submitted any comment opposing the offshore dredging with cutterhead dredge or the nourishment
of the beach.

74. Sea Island admits that the Plaintiffs filed comments regarding the October 2015
application and the l\/larch 2018 Supplemental Project Description; Sea Island denies that Plaintiffs
commented on the direct, indirect, or cumulative impacts of the offshore dredging or beach
nourishment aspects of the proposed project, and further denies any remaining allegations of
Paragraph 74.

75-76. Denied.

The Supplemenlal Biologz`cal Assessment

77. Admitted.

78. Sea Island admits that the 2018 Supplementary Biological Assessment and
Essential Fish Habitat Assessment, based on a careful review of all impacts, concluded that “all
potential effects from the project are discountable, insignificant, or beneficial, and therefore the
proposed action is not likely to adversely affect listed species in the project area.”

79. Sea Island admits the first sentence of Paragraph 79. Sea Island admits that the
second and third sentences in Paragraph 79 quote from the referenced letter but further avers that
the selective quotes, out of context, do not accurately convey the import of the letter. The letter is
in the Administrative Record and speaks for itself.

80. Sea Island admits that the first sentence in Paragraph 80 quotes from the referenced
letter but further avers that the selective quote, out of context, does not accurately convey the
import of the letter. Sea Island denies the remaining allegations of Paragraph 80. The letter is in

the Administrative Record and speaks for itself.

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 10 of 16

81. Sea Island admits that the Corps concluded that no additional formal consultation
with NMFS was necessary. Sea Island denies the remaining allegations of Paragraph 81.
The Permit and the NEPA Documents
82-83. Denied.
84. Sea Island admits the Environmental Assessment concluded there would be no
significant impact from the project. Sea Island denies the remaining allegations of Paragraph 84.
LEGAL FRAMEWORK
Clean Water Act
85»95. Paragraphs 85 through 95 consist of conclusions of law to which no response is
required
National Environmental Policy Act
96-104. Paragraphs 96 through 104 consist of conclusions of law to which no response is
required
Endangered Species Act
105-108. Paragraphs 105 through 108 consist of conclusions of law to which no response
is required
STANDARD OF REVIEW
109~115. Paragraphs 109 through 115 consist of conclusions of law to which no response

is required

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Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 11 of 16

CLAIMS FOR RELIEF

A. Claim One: The Corps violated the Clean Water Act and the APA by issuing the

Permit When there is a less environmentally damaging practicable alternative to the

project and by improperly limiting the “purpose and need” of the project.

116. Sea Island incorporates by reference its responses to the allegations contained in
the preceding paragraphs

117-118. Paragraphs 117 through 118 consist of conclusions of law to which no response
is required

119-121. Denied.

B. Claim Two: The Corps violated the Clean Water Act and NEPA by failing to
adequately evaluate the cumulative impacts of the authorized project.

122. Sea Island incorporates by reference its responses to the allegations contained in
the preceding paragraphs

123-125. Paragraphs 123 through 125 consist of conclusions of law to which no response
is required

126-127. Denied.

C. Claim Three: The Corps violated NEPA and the APA by failing to take a “hard look”
at the environmental consequences of the proposed action and by failing to prepare
an Environmental Impact Statement.

128. Sea Island incorporates by reference its responses to the allegations contained in
the preceding paragraphs

129. Paragraph 129 consists of conclusions of law to which no response is required

130-131. Denied.

132. Sea Island states that the Federal Register speaks for itself and Paragraph 132

requires no response from Sea Island

133-136. Denied.

_11_

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 12 of 16

D. Claim Four: The Corps violated the Clean Water Act and the APA by issuing a permit
for a structure that would create undue interference with access to and use of public
tidelands
137. Sea island incorporates by reference its responses to the allegations contained in

the preceding paragraphs
138. Paragraph 138 consists of conclusions of law to which no response is required
139-141. Denied.

E. Claim Five: The Corps violated the Endangered Species Act and the Administrative
Procedure Act by failing to adequately consult With NMFS and the FWS regarding
the project.

142. Sea island incorporates by reference its responses to the allegations contained in
the preceding paragraphs

143. Sea island admits that the Piping Plover has critical habitat adjacent to the project
area. Sea island fuither admits that the National Recovery Plan for the Northern right whale, dated

1991, designates the shallow waters from Savannah, Georgia, south to Cape Canaveral, Florida,

as the wintering ground for the Atlantic right whale. Sea island denies the remaining allegations

of Paragraph 143 as stated

144. Sea island admits that the Corps determined that the authorized activities may affect
but were unlikely to adversely affect certain species Sea island denies the remaining allegations
of Paragraph 144 as stated

145. Sea island admits that the NMFS received a letter from the Corps on October 10,

2017, requesting consultation pursuant to Section 7 of the Endangered Species Act. Sea island

denies the remaining allegations of Paragraph 145 as stated

_12_

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 13 of 16

146. Sea island admits that by a letter dated October 19, 2017, NMFS stated that the
potential project effects to listed species were found to be discountable, insignificant, or beneficial
Nl\/IFS further concluded that the proposed action was not likely to affect listed species under
Nl\/iFS’s purview. Sea island denies all remaining allegations contained in Paragraph 146 as stated

147-148. Admitted.

149. Sea island denies the allegations in Paragraph 149 as stated

150. Sea island admits that certain Conservation Groups provided written notice by letter
dated October 31, 2018. Sea island further states that the notice speaks for itself and requires no
response from Sea island

151. Sea island denies that it has failed to comply with the Endangered Species Act. in
further response, neither the Corps nor NMFS was required to take any action because Sea island
was and is in compliance with the Endangered Species Act. Sea island denies the remaining
allegations of Paragraph 151 as stated

152. Denied.

F. Claim Six: The Corps violated NEPA, the Clean Water Act, and the APA by failing
to take adequate steps to minimize or mitigate the adverse impacts of the project.

153-154. Paragraphs 153 through 154 consist of conclusions of law to which no response

is required

155-156. Denied.

_13_

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 14 of 16

PRAYER FOR RELIEF
Sea island denies Plaintiffs are entitled to any of their Prayers for Relief.
AFFIRMATIVE DEFENSES
First Af/irmative Defense
The Amended Complaint should be dismissed for failure to state a claim upon which relief
can be granted
Secoml Affirmative Defense
The Amended Complaint should be dismissed because Plaintiffs lack standing to raise
some or all of their claims
leird Af/irmative Defense
Plaintiffs have failed to exhaust their administrative remedies on issues not presented to
the Corps of Engineers during the public notice and comment process
F ourt/1 AjYirmative Defense
The Amended Complaint should be dismissed because the Permit was issued in compliance
with all applicable substantive and procedural requirements

WHEREFORE, Sea island denies that Plaintiffs are entitled to any relief whatsoever and

prays for judgment as follows:

A. Dismissing Plaintiffs’ Amended Complaint for Declaratory and injunctive Relief
with prejudice;

B. Awarding Sea island its costs for defending this action, including reasonable

attorneys’ fees; and

_14_

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 15 of 16

C. Such other and further relief that this Court deems just and proper.

Respectfully submitted this L§/lv\ day of February, 2019.

HALL BOOTH SMITH, P.C.

/s/ James B. Durham, Esq.
.iAl\/iES B. DURHAM
Georgia Bar No. 235526
STEPHANiE R. l\/icDONALD
Georgia Bar No. 274946
3528 Darien Highway, Suite 300
Brunswick, Georgia 3 1 5 25
Phone: (912) 554-0093
Fax: (912) 554-1973
Email: ja’urham@hallbo()thsmii‘h.com
snichnald@hallboothsmz`th. com

KING & SPALDING LLP

PATRICIA T. BARMEYER
Georgia Bar No. 038500

RANDY J. BUTTERFIELD
Georgia Bar No. 100120

1180 Peachtree Street NE

Atlanta, Georgia 30309-3521

Phone: (404) 572-4600

Fax: (404) 572-5137

Email: pbarmeyer@kslaw.com

rbutrer/z`eld@kslaw. com

Attomeysfor latervenor Defena’ant Sea Island Acquisi'tz'on, LLC

_15_

Case 4:18-cv-00251-.]RH-CLR Document 43 Filed 02/25/19 Page 16 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
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ALTAMAHA RiVERKEEPER, ONE
HUNDRED l\/iiLES, and SURFRIDER
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ENGINEERS, et al.,
Defendants,
and
SEA iSLAND ACQUiSiTiON, LLC,

intervenor Defendant.

CiViL ACTION NO.
4:18-cv-00251-JRH-JEG

 

 

CERTIFICATE OF SERVICE

 

i hereby certify that i electronically filed the foregoing Answer of Sea Island Acquisition,

LLC to Amended Complaint for Declaratory and Injunctive Relief with the Clerk of Court for

the United States District Court for the Southern District of Georgia by using the Cl\/i/ECF system,

which will send a notification of such filing to the following attorneys of record:

William W. Sapp, Esq.

l\/iegan Hinkle Huynh, Esq.

Bob Sherrier, Esq.

Southern Environmental Law Center
Attorneysfor Plaintiffs

Kimberly A. Sturm, Esq.
Weissman, PC
Attorneyfor Plaintiffs ,

- 9 S"tl”‘
This /'~ day of February, 2019.

3528 Darien Highway, Suite 300

Brunswick, Georgia 31525

Phone: (912) 554-0093

Fax: (912) 554-1973

Email: jdurham@hallboathsmz`th. com
smcdz)nald@hallboothsmith. com

l\/iartha C. l\/lann, Esq.

Dedra S. Curteman, Esq.

Bradford C. Patrick, Esq.

United States Department of Justice
Attorneysfor Fea’eral Defendants

HALL BOOTH SMITH, P.C.

/s/ James B. Durham, Esc].
JAMES B. DURHAM
Georgia Bar No. 235526
STEPHANIE R. l\/icDONALD
Georgia Bar No. 274946
Attorneysfor Intervenor Defendant
Sea Island Acquisilz`on, LLC

